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FoR THE wEsTERN orsTRlcT oF TENNEssEE

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uNlTED sTATEs oF AMERch, * CLERZ(' L_!-§-§?@=TWCFCOUT
lier tier ll'-i, i,‘.Ei::FHlS
Piaintrfr, *
vs. * criminal No. 03-20138~rvn v
oENle JoEL woooARo, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFEITURE

 

ln indictment Number 03-20‘| 38-l\/ll V, the United States sought forfeiture of specific
property of defendant Dennis Joe| Woodard, pursuant to 18 U.S.C. §2252. On August 1,
2003, the defendant, Dennis Joel Woodard, entered a plea of guilty to Counts 1, 2 and 3
of the |ndictment.

According|y, it is ORDERED:

1. Based upon the defendant’s guilty plea to Counts 1, 2 and 3 of the
indictment Number 03-20138-|\/|| V, the United States is authorized to seize the following
property belonging to defendant Dennis Joe| Woodard, and his interest in it is hereby
forfeited to the United States for disposition in accordance with the law, subject to the
provisions of 21 U.S.C. §853(n) and Rule 32(d)(2) of the Federa| Rules of Crimina|
Procedure:

a. Any visual depiction described in Section 2252 of Title 18 United
States Code, and any book, magazine, periodical, tirm, videotape, and other matter which

contains any such visual depiction, which was produced, transported, mailed, shipped, or

Thls document entered on the docket sheet ln co

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with Flule :.-r: and/or 32(b) FFlCrP on ' *'@

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received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any property, real or persona|, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) clone, generic, black,
personal computer, serial number,

013262721;

2. One (1) clone, generic, white personal
computer, no serial number.

Al| pursuant to Title 18, United States Code1 Section 2253.

2. The forfeited property is to be held by the United States IV|arshal in his
secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States i\/|arshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
She|by County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney Genera| or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the

petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty

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of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner“s claim
and the relief sought. The United States lV|arshal or his delegate may use the attached
Lega| Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
noUHed.

4. Pursuant to Fed. R. Crlm. P. 32.2(b)(3), this Pre|iminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgmentl

5. |f no third party files a timely claim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if nonel following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(c), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crlm. P. 32.2(e).

IT |S SO ORDERED this sr q day of Q°§»‘NM-T , 2005.

tr>(./W-‘-OM

JO P. |V|cCALLA
U ` ed States District Judge

 

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PRESENTED BY:

TERRELL L. HARRIS
United States Attorney

f,//¢»M/

c lsToPHEi$ E. coTTEN
ssistant United States Attorney

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lN THE UNlTED STATES D|STR|`CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN D|V|SlON

*

UNlTED STATES OF AMER|CA.

 

Plaintiff, *
vs. * Criminal No. 03-20138-M| V
DENNIS JOEL WOODARD, *
Defendant. *
LEGAL NOT|CE

 

Take notice that on &S.Z‘j, ?QQS , the United States District Court forthe

Western District of Tennessee, Western Division, entered a Pre|iminary Order of Forfeiture
ordering that all right, title and interest of the defendant Dennis Joel Woodard in the
following property be forfeited to the United States to be disposed of in accordance with
law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or persona|, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or persona|, used or intended to be used to commit or to

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promote the commission of the above said offenses, including but not limited to the
following:
1) One (‘l) clonel generic, black,
personal computer, serial number,
013262721;

2. One (1) clone, generic, white personal
computer, no serial number.

All pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney
Genera| or his delegate may direct. Any person, other than the defendant, having or
claiming a legal interest in the above-listed forfeited property must file a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner's alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner“s right, title, or
interest in each of the forfeited properties and any additional facts supporting the

petitioner's claim and relief sought.

   

uNlTED sTATE DRISTIC COUR - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 34 in
case 2:03-CR-20138 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

